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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SLAVICA VUKOBRAD,                                     )
                                                      )
                                                      )
               PLAINTIFF,                             )
                                                      )       Civil Action No.     19-cv-541
               v.                                     )
                                                      )       Hon. Charles P. Kocoras
                                                      )
TRANSWORLD SYSTEMS, INC.                              )       Magistrate Sheila M. Finnegan
                                                      )
                                                      )
                DEFENDANT(S).                         )

                                  STIPULATION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby stipulated and

agreed by and between all parties who have appeared in the above entitled action, through their

respective attorneys, that by this Stipulation to Dismiss this matter is hereby dismissed with

prejudice and without costs and each party to bear its own attorney’s fees.

Dated: 6/20/2019

Counsel for Plaintiff                                         Counsel for Defendant

s/ Robert J. Tomei Jr.                                        s/Andrew Cunningham
Robert J. Tomei Jr.,                                          Andrew Cunningham
JOHNSTON TOMEI                                                Morgan Marcus
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Attorney for Plaintiff                                        Attorneys for Defendant
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                                 CERTIFICATE OF SERVICE

          I, Robert J. Tomei Jr., an attorney, hereby certify that on June 20, 2019, I electronically
 filed the foregoing document using the CM/ECF system, which will send notification of such
 filing to all attorneys of record.

Dated: June 20, 2019                                                         Respectfully submitted,


                                                                      By:     /s/ Robert J. Tomei Jr.
